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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

UNITED STATES OF AMERICA,

Vv.

ETHAN NORDEAN,

JOSEPH BIGGS, Criminal Action No. 21-175 (TJK)
ZACHARY REHL,
ENRIQUE TARRIO, and
DOMINIC PEZZOLA,

Defendants.

 

 

RESPONSE TO JURY NOTE OF MAY 1, 2023 AT 3:19 P.M.

The exhibits you requested are Government exhibit numbers 440A, 440Ax, 205, 205x,

160B, and 160Bx.

 

TIMOTHY J. KELLY
United States District Judge
